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                         In the United States District Court
                          for the Southern District of Ohio
                            Western Division at Cincinnati


 Michael Bradford,

        On behalf of himself and those similarly   Case No. 1:20-cv-60
        situated,

                Plaintiff,                         Judge

        v.                                         Magistrate Judge

 Team Pizza, Inc.; Chris Short; Doe                Jury Demand Endorsed Hereon
 Corporation 1-10; John Doe 1-10;

                Defendants.


                      Class and Collective Action Complaint



       1.      Michael Bradford, on behalf of himself and similarly-situated individuals, brings

this action against Defendants Team Pizza, Inc.; Chris Short; Doe Corporation 1-10; and John Doe

1-10 (“Defendants”). Plaintiff seeks appropriate monetary, declaratory, and equitable relief based

on Defendants’ willful failure to compensate Plaintiff and similarly-situated individuals with

minimum wages and overtime wages as required by the Fair Labor Standards Act (“FLSA”), 29

U.S.C. § 201, et seq., the Ohio Constitution, Article II, Section 34a (“Section 34a”), O.R.C. §

4113.15 (Ohio’s “Prompt Pay Act”), O.R.C. § 2307.60, and for unjust enrichment.

       2.      Defendants operate Domino’s Pizza locations around the country, including but

not limited to in Ohio, Indiana, and Kentucky (the “Team Pizza Domino’s stores).

       3.      Plaintiff seeks to represent the delivery drivers who have worked at the Team Pizza

Domino’s stores.
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        4.     Defendants repeatedly and willfully violated the Fair Labor Standards Act, Section

34a, and the Ohio Prompt Pay Act by failing to adequately reimburse delivery drivers for their

delivery-related expenses, thereby failing to pay delivery drivers the legally mandated minimum

wage wages for all hours worked.

        5.     All delivery drivers at the Team Pizza Domino’s stores, including Plaintiff, have

been subject to the same or similar employment policies and practices.

                                  Jurisdiction and Venue

        6.     Under 28 U.S.C. § 1331 and 29 U.S.C. § 216(b), this Court has jurisdiction over

Plaintiff’s FLSA claims.

        7.     Under 28 U.S.C. § 1367, this Court has supplemental jurisdiction over Plaintiff’s

Ohio law claims.

        8.     Venue in this Court is proper under 28 U.S.C. § 1391(b) because Defendants reside

in this district, and a substantial part of the events giving rise to the claim herein occurred in this

district.

                                             Parties

Plaintiff

Michael Bradford

        9.     Plaintiff Michael Bradford is a resident of Ohio.

        10.    Plaintiff is an “employee” of all of the Defendants as defined in the FLSA, Section

34a, and the Ohio Prompt Pay Act.

        11.    Plaintiff has given written consent to join this action.



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Defendants

Team Pizza, Inc.

       12.     Defendant Team Pizza, Inc. is a domestic corporation authorized to do business

under the laws of Ohio.

       13.     Defendants operate their Domino’s Pizza stores out of their principal office at 3958

Elter Lane, Mason, OH 45040.

       14.     Team Pizza, Inc. is the entity that operates the Team Pizza Domino’s stores.

       15.     Upon information and belief, Team Pizza, Inc. owns and operates stores in Ohio,

Kentucky, Indiana, and potentially other states.

       16.     Team Pizza, Inc. has substantial control over Plaintiff and similarly situated

employees’ working conditions, and over the unlawful policies and practices alleged herein.

       17.     Team Pizza, Inc. has direct or indirect control of the terms and conditions of

Plaintiff’s work and the work of similarly situated employees.

       18.     At all relevant times, Team Pizza, Inc. maintained control, oversight, and direction

over Plaintiff and similarly situated employees, including, but not limited to, hiring, firing,

disciplining, timekeeping, payroll, reimbursements, pay rates, deductions, and other practices.

       19.     Team Pizza, Inc. is an “employer” of Plaintiff and similarly situated employees as

that term is defined by the FLSA, the OMFWSA, Section 34a, and the Ohio Prompt Pay Act.

       20.     At all relevant times, Team Pizza, Inc. has been and continues to be an enterprise

engaged in “the production of goods for commerce” within the meaning of the phrase as used in

the FLSA.

       21.     Team Pizza, Inc.’s gross revenue exceeds $500,000 per year.


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Chris Short

       22.     Defendant Chris Short is the owner of Team Pizza, Inc. and the Team Pizza

Domino’s stores.

       23.     Chris Short is the President of Team Pizza, Inc.

       24.     Chris Short is the owner of the Team Pizza, Inc.

       25.     Chris Short operates Domino’s Pizza stores in several states, including Ohio.

       26.     In 2015, Chris Short changed the state of incorporation for Team Pizza, Inc. from

Indiana to Ohio.

       27.     Chris Short is individually liable to the delivery drivers at the Team Pizza Domino’s

stores under the definitions of “employer” set forth in the FLSA, OMFWSA, and Section 34a

because he owns and operates the Team Pizza Domino’s stores, serves as a president and owner

of Team Pizza, Inc., ultimately controls significant aspects of the Team Pizza Domino’s stores’

day-to-day functions, and ultimately controls compensation and reimbursement of employees. 29

U.S.C. § 203(d).

       28.     Chris Short is the franchisee of the Team Pizza Domino’s stores.

       29.     At all relevant times, by virtue of his role as owner and president of the Team Pizza

Domino’s stores, Chris Short has had financial control over the operations at each of the Team

Pizza Domino’s stores.

       30.     At all relevant times, by virtue of his role as owner and president of the Team Pizza

Domino’s stores, Chris Short has a role in significant aspects of the Team Pizza Domino’s stores’

day to day operations.




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        31.    At all relevant times, by virtue of his role as owner and president of the Team Pizza

Domino’s stores, Chris Short has had control over the Team Pizza Domino’s stores’ pay policies.

        32.    At all relevant times, by virtue of his role as owner and president of the Team Pizza

Domino’s stores, Chris Short has had power over personnel and payroll decisions at the Team

Pizza Domino’s stores, including but not limited to influence of delivery driver pay.

        33.    At all relevant times, by virtue of his role as owner and president of the Team Pizza

Domino’s stores, Chris Short has had the power to hire, fire and discipline employees, including

delivery drivers at the Team Pizza Domino’s stores.

        34.    At all relevant times, by virtue of his role as owner and president of the Team Pizza

Domino’s stores, Chris Short has had the power to stop any illegal pay practices that harmed

delivery drivers at the Team Pizza Domino’s stores.

        35.    At all relevant times, by virtue of his role as owner and president of the Team Pizza

Domino’s stores, Chris Short has had the power to transfer the assets and liabilities of the

Defendant entities.

        36.    At all relevant times, by virtue of his role as owner and president of the Team Pizza

Domino’s stores, Chris Short has had the power to declare bankruptcy on behalf of the Defendant

entities.

        37.    At all relevant times, by virtue of his role as owner and president of the Team Pizza

Domino’s stores, Chris Short has had the power to enter into contracts on behalf of each of the

Team Pizza Domino’s stores.




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        38.     At all relevant times, by virtue of his role as owner and president of the Team Pizza

Domino’s stores, Chris Short has had the power to close, shut down, and/or sell each of the Team

Pizza Domino’s stores.

        39.     At all relevant times, by virtue of his role as owner and president of the Team Pizza

Domino’s stores, Chris Short had authority over the overall direction of each of Team Pizza

Domino’s stores and was ultimately responsible for their operations.

        40.     The Team Pizza Domino’s stores function for Chris Short’s profit.

        41.     Chris Short has influence over how the Team Pizza Domino’s stores can run more

profitably and efficiently.

Doe Corporation 1-10

        42.     Upon information and belief, Defendants own, operate, and control other entities

and/or limited liability companies that also comprise part of the Team Pizza Domino’s stores, and

qualify as “employers” of Plaintiff and the delivery drivers at the Team Pizza Domino’s stores as

that term is defined by the FLSA and Ohio wage law.

        43.     These other entities could include, but are not limited to, Detert Pizza, Inc.,

Impress Pizza, Inc., Perfect Pizza, Inc., Brothers Pizza Inc., Penn Five Pizza Inc., SGS Pizza, Inc.,

and others.

        44.     The identities of these additional Defendants should be revealed as discovery

progresses and can be named at that time.

John Doe 1-10




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          45.   Upon information and belief, there are additional individuals who also qualify as

“employers” of Plaintiff and the delivery drivers at the Team Pizza Domino’s stores as that term

is defined by the FLSA and Ohio wage law.

          46.   Upon information and belief, Chris Short has entered into co-owner relationships

with a number of his managers and business partners, and those individuals might also qualify as

“employers” of Plaintiff and the delivery drivers at the Team Pizza Domino’s stores as that term

is defined by the FLSA and Ohio wage law.

          47.   The identities of these additional Defendants should be revealed as discovery

progresses and can be named at that time.

                                              Facts

                                 Class-wide Factual Allegations

          48.   During all relevant times, Defendants have operated the Team Pizza Domino’s

stores.

          49.   Plaintiff and the similarly situated persons Plaintiff seeks to represent are current

and former delivery drivers at the Team Pizza Domino’s stores.

          50.   All delivery drivers employed at the Team Pizza Domino’s stores over the last three

years have had essentially the same job duties—deliver pizza and other food items to customers.

          51.   When there are no deliveries to make, Defendants’ delivery drivers are required to

work inside the Team Pizza Domino’s stores preparing dough or sauces, doing dishes, cleaning,

and completing other duties inside the restaurant as necessary.

          52.   Plaintiff and similarly situated delivery drivers have been paid minimum wage

minus a tip credit for the hours they worked while completing deliveries.


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          53.   Plaintiff and similarly situated delivery drivers have been paid minimum wage or

slightly above minimum wage for the hours they worked inside the store.

          54.   The job duties performed by delivery drivers inside the store are not related to their

tip-producing duties while they are out on the road making deliveries.

          55.   Delivery drivers do not complete their inside job duties contemporaneously with

their delivery job duties.

          56.   The delivery drivers at the Team Pizza Domino’s stores work “dual jobs.”

          57.   Defendants require delivery drivers at Team Pizza Domino’s stores to use their

own cars to complete deliveries.

          58.   Defendants require delivery drivers to maintain and pay for operable, safe, and

legally compliant automobiles to use in delivering Defendants’ pizza and other food items.

          59.   Defendants require delivery drivers to incur and/or pay job-related expenses,

including but not limited to automobile costs and depreciation, gasoline expenses, automobile

maintenance and parts, insurance, financing charges, licensing and registration costs, cell phone

costs, GPS charges, and other equipment necessary for delivery drivers to complete their job

duties.

          60.   Pursuant to such requirements, Plaintiff and other similarly situated employees

purchase gasoline, vehicle parts and fluids, automobile repair and maintenance services,

automobile insurance, suffered automobile depreciation and damage, financing, licensing, and

registration charges, and incur cell phone and data charges all for the primary benefit of

Defendants.




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       61.     The Team Pizza Domino’s stores reimburse their delivery drivers a set amount for

each mile they drive.

       62.     The Team Pizza Domino’s stores reimburse their delivery drivers a set amount for

each mile they drive that is less than the IRS standard business mileage rate.

       63.     The Team Pizza Domino’s stores do not track or record the delivery drivers’ actual

expenses.

       64.     The Team Pizza Domino’s stores do not collect receipts from their delivery drivers

related to the expenses they incur while completing deliveries.

       65.     The Team Pizza Domino’s stores do not reimburse their delivery drivers based on

the actual expenses the delivery drivers incur.

       66.     The Team Pizza Domino’s stores do not reimburse their delivery drivers for the

actual expenses delivery drivers incur.

       67.     The Team Pizza Domino’s stores do not reimburse their delivery drivers at the IRS

standard business mileage rate.

       68.     The Team Pizza Domino’s stores did not even reasonably approximate the delivery

drivers’ expenses.

       69.     The Team Pizza Domino’s stores’ reimbursement payments result in

reimbursements that are less than the IRS standard business mileage rate for each mile driven.

       70.     According to the Internal Revenue Service, the standard mileage rate for the use of

a car during the relevant time periods have been:

               a.       2016: 54 cents/mile
               b.       2017: 53.5 cents/mile
               c.       2018: 54.5 cents/mile
               d.       2019: 58 cents/mile

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               e.      2020: 57.5 cents/mile

       71.     The delivery drivers at the Team Pizza Domino’s stores have incurred even more

in expenses than those contemplated by the IRS standard business mileage rate—e.g., cell phone

and data charges.

       72.     As a result of the automobile and other job-related expenses incurred by Plaintiff

and other similarly situated delivery drivers, they were deprived of minimum wages guaranteed to

them by the FLSA and Ohio law.

       73.     Defendants have applied the same or similar pay policies, practices, and procedures

to all delivery drivers at the Team Pizza Domino’s stores.

       74.     Because Defendants paid their drivers a gross hourly wage at precisely, or at least

very close to, the applicable minimum wage, and because the delivery drivers incurred

unreimbursed automobile expenses, the delivery drivers “kicked back” to Defendants an amount

sufficient to cause minimum wage violations. See 29 C.F.R. § 531.35.

       75.     Defendants have failed to properly take a tip credit from Plaintiffs’ wages and the

wages of similarly situated employees because, after accounting for unreimbursed expenses,

Defendants have paid delivery drivers a lower wage rate than they informed the delivery drivers

they would be paid.

       76.     Defendants have also failed to properly inform Plaintiff and similarly situated

delivery drivers of the requirements for taking a tip credit. 29 C.F.R.§ 531.59.

       77.     Defendants have willfully failed to pay federal and Ohio state minimum wage to

Plaintiff and similarly situated delivery drivers at the Team Pizza Domino’s stores.




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                           Plaintiff’s Individual Factual Allegations

        78.    Plaintiff has worked at the Team Pizza Domino’s store in Akron, Ohio since June

2017.

        79.    Plaintiff is paid minimum wage minus a tip credit as an hourly rate for all hours

worked on the road completing deliveries.

        80.    When Plaintiff is not delivering food, he works inside the restaurant. His work

inside the restaurant includes preparing dough or sauces, doing dishes, cleaning, and completing

other duties inside the restaurant as necessary.

        81.    Plaintiff works dual jobs.

        82.    Plaintiff’s inside duties are not related to his delivery duties.

        83.    Plaintiff is paid minimum wage for the hours he works inside the store.

        84.    Plaintiff is required to use his own car to deliver pizzas.

        85.    Plaintiff is reimbursed $.28 per mile.

        86.    Plaintiff was required to maintain and pay for operable, safe, and legally compliant

automobiles to use in delivering Defendants’ pizza and other food items.

        87.    Plaintiff was required to incur and/or pay job-related expenses, including but not

limited to automobile costs and depreciation, gasoline expenses, automobile maintenance and

parts, insurance, cell phone service, GPS service, automobile financing, licensing and registration

costs, and other equipment necessary for delivery drivers to complete their job duties.

        88.    Plaintiff has purchased gasoline, vehicle parts and fluids, automobile repair and

maintenance services, automobile insurance, suffered automobile depreciation and damage,




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automobile financing, licensing and registration costs, and incur cell phone and data charges all for

the primary benefit of Defendants.

       89.     Defendants does not track the actual expenses incurred by Plaintiff.

       90.     Defendants do not ask Plaintiff to provide receipts of the expenses he incurs while

delivering pizzas for Defendants.

       91.     Defendants does not reimburse Plaintiff based on his actual delivery-related

expenses.

       92.     Plaintiff is not reimbursed at the IRS standard mileage rate for the miles he drives

while completing deliveries.

       93.     Defendants do not reimburse Plaintiff based on a reasonable approximation of his

expenses.

       94.     Plaintiff regularly makes approximately 2 deliveries per hour.

       95.     Plaintiff regularly drives approximately 5 miles per delivery.

       96.     In 2019, for example, the IRS business mileage reimbursement has been $.58 per

mile, which reasonably approximated the automobile expenses incurred delivering pizzas.

http://www.irs.gov/Tax-Professionals/Standard-Mileage-Rates. At the IRS standard business

mileage rate, Defendants’ policy under-reimbursed Plaintiff by approximately $.30 per mile ($.58-

$.28). Considering Plaintiff’s estimate of about 5 average miles per delivery, Defendants under-

reimbursed him by about $1.50 per delivery ($.30 x 5 average miles), and $3.00 per hour ($1.50 x

2 deliveries per hour).




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       97.     Defendants have failed to properly take a tip credit from Plaintiff’s wages because,

after accounting for unreimbursed expenses, Defendants have taken more of a tip credit than they

informed Plaintiff they would be taking.

       98.     Defendants have failed to pay Plaintiff minimum wage as required by law.

                           Collective Action Allegations

       99.     Plaintiff brings the First Count on behalf of himself and all similarly situated current

and former delivery drivers employed at the Team Pizza Domino’s stores owned, operated, and

controlled by Defendants nationwide, during the three years prior to the filing of this Class Action

Complaint and the date of final judgment in this matter, who elect to opt-in to this action (the

“FLSA Collective”).

       100.    At all relevant times, Plaintiff and the FLSA Collective have been similarly situated,

have had substantially similar job duties, requirements, and pay provisions, and have all been

subject to Defendants’ decision, policy, plan, practices, procedures, protocols, and rules of

willfully refusing to pay Plaintiff and the FLSA Collective minimum wage for all hours worked and

failing to reimburse delivery drivers for automobile expenses and other job-related expenses.

Plaintiff’s claims are essentially the same as those of the FLSA Collective.

       101.    Defendants’ unlawful conduct is pursuant to a company policy or practice.

       102.    Defendants are aware or should have been aware that federal law required them to

pay employees minimum wage for all hours worked and to fully reimburse for “tools of the trade.”

       103.    Defendants’ unlawful conduct has been widespread, repeated, and consistent.

       104.    The First Count is properly brought under and maintained as an opt-in collective

action under 29 U.S.C. § 216(b).


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          105.   The FLSA Collective members are readily identifiable and ascertainable.

          106.   In recognition of the services Plaintiff has rendered and will continue to render to

the FLSA Collective, Plaintiff will request payment of a service award upon resolution of this

action.

                                     Class Action Allegations

   107.          Plaintiff brings the Second, Third, Fourth, and Fifth Counts under Federal Rule of

          Civil Procedure 23, on behalf of himself and a class of persons consisting of:

          All current and former delivery drivers employed by Defendants at the Team Pizza
          Domino’s stores in the State of Ohio between the date three years prior to the filing
          of the original complaint and the date of final judgment in this matter (“Rule 23
          Class”).

          108.   Excluded from the Rule 23 Class are Defendants’ legal representatives, officers,

directors, assigns, and successors, or any individual who has, or who at any time during the class

period has had, a controlling interest in Defendants; the Judge(s) to whom this case is assigned and

any member of the Judges’ immediate family; and all persons who will submit timely and otherwise

proper requests for exclusion from the Rule 23 Class.

          109.   The number and identity of the Rule 23 Class members are ascertainable from

Defendants’ records.

          110.   The hours assigned and worked, the positions held, deliveries completed, and the

rates of pay and reimbursements paid for each Rule 23 Class Member are determinable from

Defendants’ records.

          111.   All of the records relevant to the claims of Rule 23 Class Members should be found

in Defendants’ records.


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       112.    For the purpose of notice and other purposes related to this action, their names and

contact information are readily available from Defendants.

       113.    Notice can be provided by means permissible under Rule 23.

       114.    The Rule 23 Class member are so numerous that joinder of all members is

impracticable, and the disposition of their claims as a class will benefit the parties and the Court.

       115.    There are more than 50 Rule 23 Class members.

       116.    Plaintiff’s claims are typical of those claims which could be alleged by any Rule 23

Class member, and the relief sought is typical of the relief which would be sought by each Rule 23

Class member in separate actions.

       117.    Plaintiff and the Rule 23 Class members have all sustained similar types of damages

as a result of Defendants’ failure to comply with Section 34a, and O.R.C. § 4113.15.

       118.    Plaintiff and the Rule 23 Class members sustained similar losses, injuries, and

damages arising from the same unlawful practices, polices, and procedures.

       119.    Plaintiff is able to fairly and adequately protect the interests of the Rule 23 Class

and has no interests antagonistic to the Rule 23 Class.

       120.    Plaintiff is represented by attorneys who are experienced and competent in both

class action litigation and employment litigation.

       121.    A class action is superior to other available methods for the fair and efficient

adjudication of the controversy, particularly in the context of wage and hour litigation on behalf of

minimum wage employees where individual class members lack the financial resources to

vigorously prosecute a lawsuit against corporate defendants. Class action treatment will permit a

large number of similarly situated persons to prosecute their common claims in a single forum


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simultaneously, efficiently, and without the unnecessary duplication of efforts and expense that

numerous individual actions engender.

       122.    This action is properly maintainable as a class action under Federal Rule of Civil

Procedure 23(b)(3).

       123.    Common questions of law and fact exist as to the Rule 23 Class that predominate

over any questions only affecting Plaintiff and the Rule 23 Class members individually and include,

but are not limited to:

           a. Whether Plaintiff and the Rule 23 Class members were subject to a common
              expense reimbursement policy that resulted in wages to drop below legally
              allowable minimum wage;

           b. Whether Plaintiff and the Rule 23 Class were subject to a policy that required them
              to maintain and pay for safe, operable, and legally compliant automobiles to use in
              completing deliveries;

           c. Whether Plaintiff and the Rule 23 Class incurred expenses for the benefit of
              Defendants in the course of completing deliveries;

           d. Whether Defendants reimbursed Plaintiff and the Rule 23 Class members for their
              actual expenses;

           e. Whether Defendants reimbursed Plaintiff and the Rule 23 Class members at the
              IRS standard business mileage rate for the miles they drove in making deliveries;

           f. Whether Defendants properly reimbursed Plaintiff and the Rule 23 Class members;

           g. Whether Plaintiff and the Rule 23 Class were properly informed of the
              requirements for taking a tip credit;

           h. Whether Plaintiff and the Rule 23 Class were actually paid the wage rate they were
              promised by Defendants;




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             i. Whether Plaintiff and the Rule 23 Class conferred a benefit on Defendants that
                Defendants were aware of and accepted, and whether it would be unjust for
                Defendants to retain that benefit without compensating for it;

             j.   Whether Defendants failed to pay Plaintiff and the Rule 23 Class in a timely manner
                  as described by O.R.C. § 4113.15, and, if so, whether the wages owed are “in
                  dispute”; and

             k. The nature and extent of class-wide injury and the measure of damages for those
                injuries.

          124.    In recognition of the services Plaintiff has rendered and will continue to render to

the Rule 23 Class, Plaintiff will request payment of a service award upon resolution of this action.

                                        Causes of Action

                                             Count 1
                    Failure to Pay Minimum Wages - Fair Labor Standards Act
                         (On Behalf of Plaintiff and the FLSA Collective)

          125.    Plaintiff restates and incorporates the foregoing allegations as if fully rewritten

herein.

          126.    Plaintiff and the FLSA Collective are or were non-exempt, hourly employees

entitled to receive no less than minimum wage for all hours worked.

          127.    Defendants failed to properly claim a tip credit from the wages of Plaintiff and the

FLSA collective because Plaintiff and the FLSA collective were paid a wage rate lower than

Defendants informed them that they would be paid.

          128.    Defendants paid Plaintiff and the FLSA Collective at or close to minimum wage for

all hours worked.




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          129.     Defendants required and continue to require Plaintiff and the FLSA Collective to

pay for automobile expenses and other job-related expenses out of pocket, and failed to properly

reimburse Plaintiff and the FLSA Collective for said expenses.

          130.     By the acts and conduct described above, Defendants willfully violated the

provisions of the FLSA and disregarded the rights of Plaintiff and the FLSA Collective.

          131.     Plaintiff and the FLSA Collective have been damaged by Defendants’ willful failure

to pay minimum wage as required by law.

          132.     As a result of Defendants’ willful violations, Plaintiff and the FLSA Collective are

entitled to damages, including, but not limited to, unpaid wages, unreimbursed expenses,

liquidated damages, costs, and attorneys’ fees.

                                               Count 2
                 Failure to Pay Minimum Wages - Ohio Constitution, Article II, § 34a
                             (On Behalf of Plaintiff and the Rule 23 Class)

          133.     Plaintiff restates and incorporates the foregoing allegations as if fully rewritten

herein.

          134.     Defendants paid Plaintiff and the Rule 23 Class below minimum wage for the hours

they worked by requiring them to cover automobile expenses and other job-related expenses.

          135.     Defendants paid Plaintiff and the Rule 23 Class a tipped wage rate for non-tipped

duties unrelated to their tipped duties.

          136.     Defendants ostensibly paid Plaintiff and the Rule 23 Class at or close to minimum

wage for the hours they worked.




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          137.   Because Defendants required Plaintiff and the Rule 23 Class to pay for automobile

expenses and other job-related expenses out of pocket, Defendants failed pay Plaintiff and the Rule

23 Class minimum wage.

          138.   By not paying Plaintiff and the Rule 23 Class at least minimum wage for each hour

worked, Defendants has violated the Ohio Constitution, Article II, § 34a.

          139.   As a result of Defendants’ violations, Plaintiff and the Rule 23 Class are entitled to

damages, including, but not limited to, unpaid wages, unreimbursed expenses, an additional two

times unpaid wages/unreimbursed expenses in damages under Section 34a, costs, and attorneys’

fees.

                                            Count 3
                         Untimely Payment of Wages – O.R.C. § 4113.15
                          (On Behalf of Plaintiff and the Rule 23 Class)

          140.   Plaintiff restates and incorporates the foregoing allegations as if fully rewritten

herein.

          141.   During all relevant times, Defendants were covered by O.R.C. § 4113.15, and

Plaintiff and the Rule 23 Class were employees within the meaning of O.R.C. § 4113.15 and were

not exempt from its protections.

          142.   O.R.C. § 4113.15(A) requires that Defendants pay Plaintiff and the Rule 23 Class

all wages on or before the first day of each month, for wages earned during the first half of the

preceding month ending with the fifteenth day thereof, and on or before the fifteenth day of each

month, for wages earned during the last half of the preceding calendar month.

          143.   By failing to pay Plaintiff and the Rule 23 Class all wages due to them under the

FLSA and Ohio Constitution, Defendants have also violated the Ohio Prompt Pay Act.


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          144.   Plaintiff and the Rule 23 Class’s unpaid wages and unreimbursed expenses have

remained unpaid for more than thirty (30) days beyond their regularly scheduled payday.

          145.   In violating Ohio law, Defendants acted willfully, without a good faith basis and with

reckless disregard to Ohio law.

          146.   As a result of Defendants’ willful violation, Plaintiff and the Rule 23 Class are

entitled to unpaid wages and liquidated damages, as stated in O.R.C. § 4113.15.

                                            Count 4
                            Damages Pursuant to O.R.C. § 2307.60
                          (On Behalf of Plaintiff and the Rule 23 Class)

          147.   Plaintiff restates and incorporates the foregoing allegations as if fully rewritten

herein.

          148.   A willful violation of the FLSA is a criminal act. 29 U.S.C. § 216(a).

          149.   By their acts and omissions described herein, Defendants have willfully violated the

FLSA, and Plaintiff and the Rule 23 Class have been injured as a result.

          150.   O.R.C. § 2307.60 permits anyone injured in person or property by a criminal act to

recover damages in a civil action, including exemplary and punitive damages.

          151.   As a result of Defendants’ willful violations of the FLSA, Plaintiff and the Rule 23

Class are entitled to compensatory and punitive damages pursuant to O.R.C. § 2307.60.

                                            Count 5
                                      Unjust Enrichment
                          (On Behalf of Plaintiff and the Rule 23 Class)

          152.   The delivery drivers at the Team Pizza Domino’s stores have conferred a benefit

on Defendants by using their own cars to work for Defendants.




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       153.    Defendants are aware of and have accepted the benefit conferred on them by

delivery drivers.

       154.    It would be unjust for Defendants to be permitted to retain the benefit conferred on

them by the delivery drivers without commensurate compensation.

       155.    Plaintiff and the delivery drivers are entitled to equitable restitution of all

unreimbursed expenses.

       WHEREFORE, Plaintiff Michael Bradford prays for all of the following relief:

       A.      Designation of this action as a collective action on behalf of the collective action

members and prompt issuance of notice to all similarly-situated members of an opt-in class,

apprising them of this action, permitting them to assert timely wage and hour claims in this action,

and appointment of Plaintiff and their counsel to represent the collective action members.

       B.      Unpaid minimum wages, reimbursement of expenses, and an additional and equal

amount as liquidated damages pursuant to the FLSA and supporting regulations.

       C.      Certification of this case as a class action pursuant to Rule 23 of the Federal Rules

of Civil Procedure.

       D.      Designation of Plaintiff as representative of the Rule 23 Class and counsel of record

as Class Counsel.

       E.      A declaratory judgment that the practices complained of herein are unlawful under

Section 34a and O.R.C. § 4113.15.

       F.      An award of unpaid minimum wages and unreimbursed expenses due under Section

34a and O.R.C. § 4113.15.




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       G.      An award of damages under Section 34a, based on Defendants’ failure to pay wages,

calculated as an additional two times of back wages.

       H.      An award of restitution for unjust enrichment.

       I.      Liquidated damages under O.R.C. § 4113.15.

       J.      Compensatory and punitive damages under O.R.C. § 2307.60.

       K.      An award of prejudgment and post-judgment interest.

       L.      An award of costs and expenses of this action, together with reasonable attorneys’

fees and expert fees.

       M.      Such other legal and equitable relief as the Court deems appropriate.

                                             Respectfully submitted,

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                                             Counsel for Plaintiff and the putative class

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                                       JURY DEMAND

        Plaintiff hereby demands a jury trial by the maximum persons permitted by law on all

issues herein triable to a jury.


                                             /s/ Andrew Kimble
                                             Andrew Kimble




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